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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

In re:                                            )
                                                  )      Case No. 15-11009-BFK
         DANIEL ASIAMA,                           )      Chapter 13
                                                  )
                       Debtor.                    )


              ORDER TO SHOW CAUSE WHY THE COURT SHOULD NOT
                     HOLD KWAMI ASIAMA IN CONTEMPT

         On December 3, 2015, the Court held a hearing on the Movant’s Motion to Reconsider

the Court’s Order Denying the Movant’s Motion to Dismiss the Case. Docket No. 63. The

Movant filed a proof of service of a subpoena for Kwami Asiama to appear and testify at the

scheduled December 3rd hearing. Docket No. 70. Kwami Asiama was personally served at 6611

Stourcliffe Lane, Haymakert, VA 20169. No appearance was made by Kwami Asiami at the

hearing held on December 3, 2015. It is, accordingly,

         ORDERED:

         1.     A hearing shall be held on Thursday, December 17, 2015, at 3:00 p.m., for

Kwami Asiama to show cause, why sanctions should not be assessed against him. Kwami

Asiama must attend the hearing in person.

         2.     The Clerk will mail copies of this Order to the parties, at the addresses, below.


                                              /s/ Brian F. Kenney
Date: Dec 7 2015
       _____________                          ___________________________
                                              Brian F. Kenney
                                              United States Bankruptcy Judge


                                               eod 12/7/2015 sas
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